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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                             CRIMINAL NO.

                v.
                                                     VIOLATION:
 AZHER HABIB SALIKUDDIN,                             18 u.s.c. § 641
                                                     (Knowing conversion of a thing of value of
                        Defendant.                   the United States)


                                     INFORMATION

       The United States Attorney charges that:

                                            COUNT ONE

       Between on or about May 7, 2014, and on or about December 18, 2014, AZHER HABIB

SALIKUDDIN did willfully and knowingly convert to his use information about a pending federal

investigation, that information being a thing of value of the United States.

       (Knowing conversion of a thing of value of the. United States, in violation of Title 18,
       United States Code, Section 641)


                                              Respectfully submitted,

                                              JESSIE K. LIU
                                              United States Attorney
                                              DC Bar No. 472845


                                      By:      ~r;;;;:£
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